Case 1:12-cv-01581-LPS Document 279 Filed 10/18/17 Page 1 of 6 PageID #: 17818




                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF DELAWARE

INTELLECTUAL VENTURES I LLC,                     )
                                                 )
                       Plaintiff,                )
                                                 )   C.A. No. 12-1581 (LPS)
       v.                                        )
                                                 )    REDACTED:
TREND MICRO INCORPORATED and                     )    PUBLIC VERSION
TREND MICRO, INC. (USA),                         )
                                                 )
                       Defendants.               )

            DECLARATION OF PHILIP OU IN SUPPORT OF TREND MICRO’S
                      ACCOUNTING OF ATTORNEYS’ FEES

       I, Philip Ou, declare and state as follows:

       1.      I am Of Counsel with the law firm of Paul Hastings LLP (“Paul Hastings”), and

counsel for Defendants Trend Micro Incorporated and Trend Micro, Inc. (USA) (collectively,

“Trend Micro”) in the above-captioned litigation. I was previously a partner and an associate at

the law firm of McDermott Will & Emery LLP (“McDermott”), also counsel for Trend Micro. I

submit this declaration supporting the accounting of attorneys’ fees submission by Trend Micro

based on personal knowledge following a reasonable investigation. If called upon as a witness, I

could competently testify to the truth of each statement herein.

       2.      Paul Hastings has represented Trend Micro since approximately April 2015. Prior

to April 2015, McDermott represented Trend Micro since the litigation commended in 2010.

       3.      A summary of the total amount of attorneys’ fees incurred for Trend Micro for

work performed by Paul Hastings and McDermott from January 2015 through our last submitted

invoice to Trend Micro (for work through August 2017) that falls within the scope of Trend

Micro’s motion (D.I. 244) is set forth in the table below:
Case 1:12-cv-01581-LPS Document 279 Filed 10/18/17 Page 2 of 6 PageID #: 17819




                             Table 1: Compensable Attorneys’ Fees
                                        Attorneys’ Fees




       4.      These amounts were billed by McDermott and Paul Hastings to Trend Micro, and

subsequently paid by Trend Micro with the exception of invoices recently submitted to Trend

Micro that have yet to be paid.

       5.      As support for Table 1, I have attached as Exhibit A to this declaration true and

correct copies of the relevant monthly invoices from McDermott and Paul Hastings for the

above-referenced time period. The descriptive nature in the detailed time entries included in

these monthly invoices reflect the actual, contemporaneous narratives written by the

timekeepers, as reviewed and edited by me, my colleague Yar R. Chaikovsky and/or my former

colleague, D. Stuart Bartow, as billing timekeepers prior to submission. The following invoice

numbers and corresponding invoice dates are included in Exhibit 1:

                 Firm                     Invoice No.                      Date
              McDermott                    2739331                   February 19, 2015
              McDermott                    2748556                    March 11, 2015
              McDermott                    2755292                    March 26, 2015
              McDermott                    2761021                    April 30, 2015
              McDermott                    2777030                     May 31, 2015
             Paul Hastings                 2050455                     May 31, 2015
             Paul Hastings                 2052691                     June 18, 2015
             Paul Hastings                 2114856                   February 28, 2017
             Paul Hastings                 2118250                    March 31, 2017
             Paul Hastings                 2121574                    April 30, 2017
             Paul Hastings                 2130530                     July 28, 2017
             Paul Hastings                 2132784                   August 25, 2017
             Paul Hastings                 2136395                September 30, 2017



                                               2
Case 1:12-cv-01581-LPS Document 279 Filed 10/18/17 Page 3 of 6 PageID #: 17820




        6.      As further support for Table 1, I have attached as Exhibit B summary tables of the

hours billed, billing rates, and total amount of attorneys’ fees sought in this accounting of

attorneys’ fees submission on a monthly basis.

        7.      McDermott and Paul Hastings timekeeper records are entered into a time and

billing system on a regular basis. Only the fees actually incurred by Trend Micro are included in

this motion.

        8.      I have only included invoices that include billed time that falls within the scope of

the relief sought in Trend Micro’s motion (D.I. 244). From these invoices, the time entries that

do not fall within the scope of relief sought by Trend Micro and for which Trend Micro does not

include in its accounting of attorneys’ fees have been redacted. Information that is subject to the

attorney-client privilege, the attorney work product doctrine, and/or any applicable privileges,

protections or immunities may also be included in the redactions. Trend Micro has authorized

me to submit un-redacted copies of Exhibit A for in camera review by the Court upon request.

        9.      Certain time entries also have been annotated where the description of the time

billed included tasks that fell within the scope of relief sought in Trend’s motion, but also

included tasks falling outside the scope of the relief sought in Trend’s motion.            In these

circumstances, I used my best judgment to allocate a portion of the time entry to the tasks that

fell within the scope of relief sought in Trend’s motion and to exclude the remainder of the time

billed for that entry.

        10.     Trend Micro will continue to incur fees through the conclusion of this accounting

of attorneys’ fees submission, will provide IV with any supplemental information and exhibits

prior to its responsive deadline, and update the Court with the supplemental information and

exhibits as part of its reply brief.


                                                  3
Case 1:12-cv-01581-LPS Document 279 Filed 10/18/17 Page 4 of 6 PageID #: 17821




       11.     I have reviewed the time entries included with Exhibit A and believe the narrative

entries reflect a reasonable amount of time devoted to the described tasks, and that each task was

reasonably necessary to the matters for which fees are being sought. For invoices starting from

July 2015, the first review by me occurred at the time of billing. In that review, I used my

regular and ordinary billing judgment to examine the recorded time entries and ensure that the

recorded time was reasonable, e.g., that it was not excessive, redundant, or otherwise

unnecessary to the litigation, and that any excess amounts were written off. In some instances, I

believed that the recorded time entries were reasonable, but the recorded time entries were

nevertheless not billed to Trend Micro                                       In these instances, the

recorded time entry is still reflected in the invoice, but the amount billed to Trend Micro is zero.

Some of these recorded time entries fall within the scope of the relief sought in Trend Micro’s

motion, but because they were not billed to Trend Micro, are not included in the accounting of

fees in support of Trend Micro’s motion.

       12.     I performed this review from the same perspective I used when preparing bills for

other clients with hourly fee billing agreements and in accordance with the Rules of Professional

Conduct. I also performed a review of all of the time entries included with Exhibit A in

connection with preparing this declaration and have reached the same conclusion that each task

was reasonably necessary to the matters for which fees are being sought and that the time entries

reflect a reasonable amount of time devoted to the described tasks.

       13.     As reflected in Exhibit A, the following attorneys and paralegals performed work

on this matter at the billing rates reflected in the invoices and in Exhibit B, which were generally

consistent with the standard, hourly rates charged to the firm’s fee-paying clients at the time:

       (a)     Paul Hastings: Yar Chaikovsky (lead counsel, partner); Blair Jacobs (partner);
               Stuart Bartow (partner); Philip Ou (counsel); Bryan James (associate); Bruce Yen



                                                 4
Case 1:12-cv-01581-LPS Document 279 Filed 10/18/17 Page 5 of 6 PageID #: 17822




               (associate); Soyoung Jung (associate); Sophie Sung (associate); Howard Yuan
               (associate); Koichiro Kidokoro (associate); Alexander Lee (associate); and Daniel
               Trevino (paralegal).

       (b)     McDermott: Yar Chaikovsky (partner, until March 2015); David Larson (partner);
               Christopher Bright (partner); Stuart Bartow (partner, until March 2015); Bryan
               James (associate, until April 2015); Bruce Yen (associate, until April 2015);
               Gregory Yoder (associate); Daniel Trevino (paralegal, until April 2015); and
               Heather Rawson (paralegal).

       14.     The hourly billing rates of Paul Hastings and McDermott attorneys generally

track experience and years at the firm and similar to fees charged to other clients for similar

matters.

       15.     I believe that the billing rates charged by Paul Hastings and McDermott as

reflected in Exhibits A and B are in line with prevailing market rates. This is supported by the

American Intellectual Property Law Association’s Report of the Economic Survey (“AIPLA

Report”), an annual report analyzing economic aspects of intellectual property practice,

including attorney billing rates and costs for various types of intellectual property litigation. A

true and correct copy of excerpts of the AIPLA Reports for 2015 and 2017 are attached as

Exhibits C and D respectively. Although the data is relatively limited, I believe that the billing

rates are further supported by a 2015 Revenue Management Report provided by

PricewaterhouseCoopers LLP for law firms in Wilmington, Delaware. A true and correct copy

of the 2015 Revenue Management Report is attached as Exhibit E.

       16.     In my experience, the total fees incurred by Paul Hastings and McDermott that

fall within the scope of Trend Micro’s requested relief were reasonable and necessary to

accomplish the tasks assigned by Trend Micro.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.




                                                5
Case 1:12-cv-01581-LPS Document 279 Filed 10/18/17 Page 6 of 6 PageID #: 17823




      Signed this 11th day of October 2017.


                                                         /s/ Philip Ou
                                                  Philip Ou




                                              6
